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                                   No. 20-15948

         In the   United States Court of Appeals
                             for the Ninth Circuit
              ANDREW TETER AND JAMES GRELL
                                  Plaintiffs-Appellants,
                                           v.

    ANNE E. LOPEZ, IN HER OFFICIAL CAPACITY AS THE
ATTORNEY GENERAL OF THE STATE OF HAWAII AND DARRYL
NG, IN HIS OFFICIAL CAPACITY AS THE STATE SHERIFF DIVISION
                      ADMINISTRATOR
                                     Defendants-Appellees.
    Appeal from the United States District Court for the District of Hawaii
               United States District Court Judge Alan C. Kay
                      Civ. No. 19-cv-00183-ACK-WRP

    APPELLANTS’ RESPONSE TO DEFENDANTS’ PETITION FOR
           REHEARING AND REHEARING EN BANC

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                                      Introduction

      There is no reason for this Court to reconsider the panel’s thorough, well-

reasoned, and eminently correct decision. The opinion does not conflict with any

decision of this Court or a sister circuit. It faithfully applied Supreme Court precedent.

And far from resolving a question of exceptional and far-reaching importance, the

opinion invalidated an extreme outlier law. This case does not come close to justifying

rehearing en banc.

      Hawaii does not claim that the panel opinion decision creates a circuit split. It

instead claims that the panel opinion conflicts with this Court’s decision in United States

v. Alaniz, 69 F.4th 1124 (9th Cir. 2023), because it purportedly “held that anything

capable of being used as a weapon is ‘presumptively’ protected under the Second

Amendment” at Bruen’s threshold textual step. Pet.1; see N.Y. State Rifle & Pistol Ass’n

v. Bruen, 142 S.Ct. 2111, 2126 (2022) (“[W]hen the Second Amendment’s plain text

covers an individual’s conduct, the Constitution presumptively protects that conduct.”).

But even accepting that characterization of the panel opinion, Alaniz did not hold

otherwise. Alaniz stated explicitly that it was not “deciding” anything about Bruen’s

threshold textual inquiry; the court “assume[d], without deciding, that step one of the

Bruen test [was] met” there. Alaniz, 69 F.4th at 1129. Consistent with that approach,

Alaniz contains exactly one sentence describing Bruen’s “threshold inquiry,” see id., only

one clause of which Hawaii claims is inconsistent with the panel opinion. A single


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clause in a single sentence of dicta in a decision about an entirely different issue does

not call for rehearing en banc.

       Hawaii’s claim of a conflict with Bruen is equally meritless. While Hawaii faults

the panel opinion for holding the state to its burden of proving that the arms it seeks

to ban are not “in common use,” Bruen was emphatic: “When the Second Amendment’s

plain text covers an individual’s conduct, the Constitution presumptively protects that

conduct.” 142 S.Ct. at 2130. And nothing in the Second Amendment’s plain text —

“A well regulated Militia, being necessary to the security of a free State, the right of the

people to keep and bear Arms, shall not be infringed”—says anything about common

use. To be sure, whether arms are in common use for lawful purposes like self-defense

matters to the historical tradition inquiry, which looks to “whether modern and historical

regulations impose a comparable burden on the right of armed self-defense.” Id. at

2133. But considerations that find no purchase in the plain text are not part of the plain

text inquiry. That is precisely why the Supreme Court has instructed twice that whether

a class of arms is “‘in common use’” (or instead is “‘highly unusual in society at large’”)

is part of the “historical tradition” inquiry. Bruen, 142 S.Ct. at 2143 (quoting District of

Columbia v. Heller, 554 U.S. 570, 627 (2008)). The panel opinion correctly heeded the

Court’s unambiguous teachings.

       Finally, Hawaii’s assertion that the panel opinion somehow “erased self-defense”

from Second Amendment analysis is disingenuous. The panel concluded that butterfly
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knives are “in common use” because (among other things) “Hawaii’s own witness

conceded that butterfly knives may be used for self-defense.” Op.22. And the panel

opinion went on to emphasize that “whether modern and historical regulations impose

a comparable burden on the right of armed self-defense” is a “central consideration[]”

in the historical tradition inquiry. Op.23. Far from erasing self-defense from the

analysis, the panel opinion situated it exactly where Bruen instructs that it belongs. It

just correctly recognized that Hawaii failed to meet its burden of proving that butterfly

knives are not in common use for self-defense. That failure of proof is hardly grounds

for this Court to take the extraordinary step of granting rehearing en banc.

                                     Background

      “The butterfly knife is simply a pocketknife with an extra rotating handle.”

Op.21. Butterfly knifes are thus unsurprisingly lawful in the vast majority of the

country.   But Hawaii Revised Statute §134-53(a) makes it a crime—with “no

exceptions”—to “possess a butterfly knife.” Op.4. The question before the panel was

whether that lone-of-its-kind law violates “the Second Amendment rights” of “law-

abiding Hawaii residents who wish to purchase butterfly knives for self-defense.” Op.4,

5.

      After quickly dispatching Hawaii’s argument that law-abiding citizens lack

standing to challenge a law that prohibits them from purchasing something they want

“for self-defense” (and that “‘forced [them] to dispose of’ their [arms]”), Op.6-13, as
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well as Hawaii’s “request for a remand,” Op.14, the panel turned to the merits.

Beginning with Bruen, the panel explained that “the first question in Bruen was ‘whether

the plain text of the Second Amendment protects [the plaintiffs’] proposed course of

conduct—carrying handguns publicly for self-defense.’” Op.17 (alteration in original)

(quoting Bruen, 142 S.Ct. at 2134). “In answering [that question], Bruen analyzed only

the ‘Second Amendment’s text,’ applying ordinary interpretive principles.” Op.17. The

panel thus followed suit, “first consider[ing] whether the possession of butterfly knives

is protected by the plain text of the Second Amendment.” Op.18.

      Because the Second Amendment’s plain text covers “the right of the people to

keep and bear arms,” U.S. Const. amend. II, and because one cannot “keep” or “bear”

something one may not possess, the plain-text question here was simply whether

butterfly knives “fit the general definition of ‘arms.’” Op.19. Heller itself supplied that

definition: As used in the Second Amendment, the term “arms” means “any thing that

a man wears for his defence, or takes into his hands, or useth in wrath to cast at or

strike another,” and thus includes not only “armour of defence,” but “[w]eapons of

offence” as well. Heller, 554 U.S. at 581; Op.18-19. That definition clearly “includes

bladed weapons and, by necessity, butterfly knives.” Op.19. Thus, “the Constitution

‘presumptively guarantees’ keeping and bearing such instruments ‘for self-defense.’”

Op.19-20 (quoting Bruen, 142 S.Ct. at 2135).



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      After reaching that conclusion, the panel “reject[ed] Hawaii’s argument that the

purported ‘dangerous and unusual’ nature of butterfly knives means that they are not

‘arms’ as that term is used in the Second Amendment.” Op.20. As the panel explained,

“Heller itself stated that the relevance of a weapon’s dangerous and unusual character

lies in the ‘historical tradition of prohibiting the carrying of dangerous and unusual

weapons.’” Op.20-21 (quoting Heller, 554 U.S. at 627). “It did not say that dangerous

and unusual weapons are not arms. Thus, whether butterfly knives are ‘dangerous and

unusual’ is a contention as to which Hawaii bears the burden of proof in the second

prong of the Bruen analysis.” Op.21. “But Hawaii failed to present evidence sufficient

to create a genuine issue of material fact as to whether butterfly knives are dangerous

and unusual.” Op.21.

      Finally, the panel held that Hawaii failed to “prove that section 134-53(a) is

consistent with this Nation’s historical tradition of regulating weapons.” Op.22; see

Op.22-31. Section 134-53(a) “purports to ‘address[] a general societal problem’ of easily

concealable, foldable knives being used in crimes.” Op.30. As the court noted, that is

“a problem that ‘has persisted since the 18th century,’” which made the historical

tradition analysis “‘straightforward.’” Op.29-30 (quoting Bruen, 142 S.Ct. at 2131).

Bruen teaches that “when a challenged regulation addresses a general societal problem

that has persisted since the 18th century, the lack of a distinctly similar historical

regulation addressing that problem is relevant evidence that the challenged regulation
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is inconsistent with the Second Amendment.” Op.29 (quoting Bruen, 142 S.Ct. at 2131).

“But Hawaii cite[d] no analogues in which Congress or any state legislature imposed an

outright ban on the possession of pocketknives to remedy this problem near 1791 or

1868.” Op.30-31. And although Hawaii cited various nineteenth-century concealed

carry laws, laws that “regulated only the[] carry” of arms are not “proper historical

analogues” to a law like §134-53(a) that “categorically ban[s] the possession of any type

of [arms]” for a simple reason: “[T]hey regulate different conduct,” Op.24, and thus

do not “impose a comparable burden on the right of armed self-defense,” Bruen, 142

S.Ct. at 2133.

                                       Argument

       I.        The Panel Opinion Does Not Conflict With Any Appellate
                 Precedent.
       1. Hawaii does not and cannot claim that the panel opinion “conflicts with an

existing opinion by another court of appeals,” let alone does so “directly.” 9th Cir. R.

35-1. That is because no other court of appeals has decided a case involving a ban on

any class of arms, let alone one involving a ban on a type of knife or other non-firearm

or non–firearm component, since the Supreme Court decided Bruen. Hawaii thus does

not cite a single appellate decision with which it claims the panel opinion conflicts.

Indeed, it does not even cite a single district court decision involving knives or bladed

instruments. Simply put, there is no circuit conflict to resolve.


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      2. Hawaii’s claim of a conflict with this Court’s decision in Alaniz fares no better.

The issue in Alaniz was whether U.S.S.G. §2D1.1(b)(1), which requires “an

enhancement of the Guidelines calculation if a defendant possessed a dangerous

weapon at the time of a felony drug offense, is constitutional under the Second

Amendment following [Bruen].” 69 F.4th at 1126. In answering that question, the Court

“assume[d], without deciding, that step one of the Bruen test”—i.e., whether “the

Second Amendment’s plain text covers an individual’s conduct,” Bruen, 142 S.Ct. at

2129-30—was “met.” Alaniz, 69 F.4th at 1129. Alaniz, in other words, assumed that

“lawfully possessing firearms” is conduct covered by the Second Amendment’s plain

text and is therefore presumptively protected. Id. The Court then moved to the

historical tradition inquiry and held that §2D1.1(b)(1) “comports with a history and

tradition of regulating the possession of firearms during the commission of felonies

involving a risk of violence.” Id.

      None of that has anything to do with the question the panel opinion addressed,

which is whether a Hawaii law making it a crime even just to “possess a butterfly knife”

violates the Second Amendment. Op.4, 5. Nor does anything about how Alaniz

decided the question before it conflict with the panel opinion here. To be sure, Alaniz

contains one clause of dicta in one sentence of dicta that is in tension with the panel

opinion’s conclusion that “the plain text of the Second Amendment” covers keeping

and bearing all instruments that “facially constitute ‘arms’ within the meaning of the
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Second Amendment.” Op.19. See 69 F.4th at 1129 (emphasis added) (“In alignment

with Heller, [Bruen] requires a textual analysis, determining whether the challenger is part

of the people whom the Second Amendment protects, whether the weapon at issue is

in common use today for self-defense, and whether the proposed course of conduct

falls within the Second Amendment.” (cleaned up)). But Alaniz did not hold otherwise.

To the contrary, Alaniz explicitly “assume[d], without deciding, that step one of the Bruen

test [was] met” there. 69 F.4th at 1129 (emphasis added).

       Alaniz’s drive-by summation of its understanding of Bruen’s plain text inquiry is

thus quintessential dicta—“discussions that are ‘unnecessary to the Court’s holdings.’”

United States v. Pedregon, 520 F.App’x 605, 608 (9th Cir. 2013) (quoting Local 144 Nursing

Home Pension Fund v. Demisay, 508 U.S. 581, 592 n.5 (1993)); see also Black’s Law

Dictionary 1102 (8th ed. 2004) (“A judicial comment made while delivering a judicial

opinion, but one that is unnecessary to the decision in the case and therefore not

precedential.”). And because this Court is “not bound by dicta in decisions from our

court or any other circuit,” United States v. Pinjuv, 218 F.3d 1125, 1129 (9th Cir. 2000),

that dicta cannot create any intra-circuit conflict. Indeed, judges on this Court have an

“obligation … to reconcile [precedents], if possible, so as to avoid an intracircuit

conflict necessitating en banc consideration.” Ernest Bock, LLC v. Steelman, 76 F.4th

827, 840 n.17 (9th Cir. 2023) (ellipsis added) (quoting Edwards v. Marin Park, Inc., 356

F.3d 1058, 1065 (9th Cir. 2004)). There is no reason to accept Hawaii’s invitation to
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assume a conflict that does not actually exist—especially since Alaniz’s drive-by dicta is

flatly inconsistent with Bruen, as explained below.

      II.    The Panel Opinion Faithfully Applied Bruen.
      1. Far from conflicting with the Supreme Court’s decision in Bruen, the panel

opinion faithfully applied it. As Bruen explained, “when the Second Amendment’s plain

text covers an individual’s conduct, the Constitution presumptively protects that

conduct.’” 142 S.Ct. at 2126. Bruen later “reiterate[d] that” point: “When the Second

Amendment’s plain text covers an individual’s conduct, the Constitution presumptively

protects that conduct.” Id. at 2129-30. The Court went on to use the phrase “plain

text” twice more to describe the threshold inquiry, i.e., the inquiry into whether conduct

is presumptively protected. Id. at 2134, 2135. And the Court dispensed with the

application of that threshold inquiry in just a few short paragraphs, which principally

looked to “the Second Amendment’s text” and the definitions that Heller supplied for

its key words (“keep,” “bear,” “arms”). Id. at 2134-35. Indeed, the Court’s conclusion

on the threshold textual inquiry boiled down to a single sentence: “Nothing in the

Second Amendment’s text draws a home/public distinction with respect to the right to

keep and bear arms.” Id. at 2134.

      The plain text inquiry is equally clear here. The Supreme Court has already

supplied the definition of arms: “[w]eapons of offence, or armour of defence” or “any

thing that a man wears for his defence, or takes into his hands, or useth in wrath to cast

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at or strike another.” Heller, 554 U.S. at 581. Accordingly, so long as something fits

within that definition, the Constitution “presumptively guarantees” individuals the right

to keep and bear it. Bruen, 142 S.Ct. at 2132. Indeed, that is what it means to say that

“the Second Amendment extends, prima facie, to all instruments that constitute

bearable arms.” Id. (quoting Heller, 554 U.S. at 582); accord Caetano v. Massachusetts, 577

U.S. 411, 411 (2016) (per curiam); and Baird v. Bonta, 2023 U.S. App. LEXIS 23760, at

*13 (9th Cir. Sep. 7, 2023) (“… if the Second Amendment’s plain text covers the

regulated conduct, the regulation will stand only if the government can ‘affirmatively

prove that its firearms regulation is part of the historical tradition that delimits the outer

bounds of the right to keep and bear arms’ in the United States.”).

       To be sure, that is just a presumption, which the government can rebut by

showing that a prohibition on keeping and/or bearing a particular type of arm “is

consistent with this Nation’s historical tradition of firearm regulation.” Id. at 2135. But

if the government succeeds in doing so, that does not make the instrument any less of

an “arm”; it just means it is the type of arm may be prohibited consistent with this

Nation’s historical tradition.

       None of that is particularly novel. Just as the plain text of the Second does not

distinguish among different types of “Arms,” the plain text of the First Amendment

does not distinguish among different types of “speech.” See Bruen, 142 S.Ct. at 2130

(drawing this analogy). That is why, in the speech context, “the government must
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generally point to historical evidence about the reach of the First Amendment’s

protections” “to carry [its] burden” to show that “expressive conduct falls outside of

the category of protected speech.” Bruen, 142 S.Ct. at 2130 (emphasis added); see id.

(noting that United States v. Stevens, 559 U.S. 460 (2010), “plac[ed] the burden on the

government to show that a type of speech belongs to a ‘historic and traditional

categor[y]’ of constitutionally unprotected speech”). The government bears that burden

precisely because speech that falls outside “the category of protected speech” is still

speech within the plain meaning of that term. By the same token, arms that fall outside

the category of protected arms are still arms within the plain meaning of that term. Thus,

if the government wants to prohibit a class of arms, it must meet its burden of proving

that they belong to a historic and traditional category of unprotected arms.

       2. As the panel opinion correctly concluded, all of that makes this an easy case.

Hawaii does not dispute that butterfly knives fit the Second Amendment’s definition of

“arms.” Nor do they dispute that the conduct in which Plaintiffs wish to engage—

keeping and bearing a type of arm—is conduct covered by the Second Amendment’s

plain text and presumptively protected. That is the end of the threshold inquiry, for

“when the Second Amendment’s plain text covers an individual’s conduct, the

Constitution presumptively protects that conduct.” Bruen, 142 S.Ct. at 2126.

       Hawaii therefore bore the burden to prove that §134-53(a), which imposes an

outright ban on possessing a class of arms, “is consistent with the Nation’s historical
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tradition.” Id. at 2130. Bruen instructs how a state may make that showing in the specific

context of laws like §134-53(a) that ban the possession of arms outright. The key

question is whether the arms a state wants to ban are “in common use today” for lawful

purposes like self-defense, or rather “‘are highly unusual in society at large.’” Id. at 2143

(quoting Heller, 554 U.S. at 627). Hawaii’s efforts to carry that burden came up far

short.    As to dangerousness, their theory that “the butterfly knife has uniquely

dangerous propensities” because it is easy to conceal not only is “not support[ed]” by

“[t]he record,” Op.21, but borders on frivolous. After all, handguns are “designed to

be ‘easy to conceal,’” yet the Supreme Court has deemed them “the quintessential self-

defense weapon.” Pet.9, 15. As to common use, not only did “Hawaii’s own witness

concede[]” the obvious reality “that butterfly knives may be used for self-defense,”

Op.22, but Hawaii put on zero evidence to contradict the equally obvious reality that

butterfly knives are the furthest thing from “highly unusual in society at large,” Bruen,

142 S.Ct. at 2143 (quoting Heller, 554 U.S. at 627).

         Unable to carry its burden, Hawaii tries to eliminate it, insisting that common

use belongs in the threshold textual inquiry. But just as “[n]othing in the Second

Amendment’s text draws a home/public distinction,” id. at 2134, nor does anything in

its text draw a common/uncommon distinction. As Bruen explained, the rule that “the

Second Amendment protects the possession and use of weapons that are “‘in common

use at the time’” derives from “the historical tradition of prohibiting the carrying of
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‘dangerous and unusual weapons.’” Bruen, 142 S.Ct. at 2128 (quoting Heller, 554 U.S. at

627; emphasis added). Indeed, Heller itself made that clear. While Hawaii notes that

Heller “stressed that the Second Amendment ‘is not a right to keep and carry any

weapon whatsoever,’” Pet.9 (quoting Heller, 554 U.S. at 626), it misses the critical point:

That statement came in the historical tradition analysis, nearly 45 pages after the Court

explained that “the Second Amendment extends, prima facie, to all instruments that

constitute bearable arms.” Heller, 554 U.S. at 582.

       Thus, while handguns are ultimately “protected” “not merely because they are

‘bearable arms,’” but because they are “‘overwhelmingly chosen by American society’”

for lawful purposes like self-defense, Pet.9 (quoting Heller, 554 U.S. at 628), they are

presumptively protected simply and solely because they are “bearable arms.” So too with

butterfly knives:    Because they fit comfortably within the Second Amendment’s

definition of “arms,” Hawaii may justify its anomalous ban only by proving that they

are not “in common use” for lawful purposes like self-defense.

       None of that means, as Hawaii insists, that the panel opinion somehow “erased

self-defense” from the analysis. Pet.6. Self-defense can be a part of the inquiry into

whether an arm is “typically possessed by law-abiding citizens for lawful purposes[,]”

Heller, 554 U.S. at 628, but “lawful purposes” is not limited solely to self-defense. And

Bruen makes clear that it is the state’s burden to prove that a class of arms does not satisfy



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that historical test. Hawaii’s failure to do so does not begin to justify its plea for en

banc review.

      3. Hawaii’s failure to prove that butterfly knives are “dangerous and unusual”

can and should end the historical tradition inquiry. But the panel’s conclusion that

Hawaii’s purported historical analogues do not justify its novel ban was also eminently

correct.

      As Bruen explained, in determining with a state has met its historical tradition

burden, courts must focus on “how and why” historic regulations “burden[ed] a law-

abiding citizen’s right to armed self-defense,” and then determine whether the how and

why of the challenged law are “relevantly similar.” Bruen, 142 S.Ct. at 2133. And how

close of a fit is needed for historic laws to justify a modern law depends on whether the

“challenged regulation addresses a general societal problem that has persisted since the

18th century,” id. at 2131, or instead “implicat[es] unprecedented societal concerns or

dramatic technological changes,” id. at 2132. In the former case, only “a distinctly

similar historical regulation addressing that problem” will suffice. Id. at 2131. And a

past law is not “distinctly similar” to a modern law, Bruen explained, if it “addressed the

societal problem … through materially different means,” such as by regulating different

conduct. Id.

      Again, that makes the historical traditional analysis straightforward here. As the

panel explained, “the problem of people using easily concealable, foldable knives in
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violent crimes predates 1999 by hundreds of years.” Op.29. That means only “a

distinctly similar historical regulation addressing that problem” could suffice. Op.29

(quoting Bruen, 142 S.Ct. at 2131). Yet no historical law addressed that problem through

similar means, as none prohibited the possession of any class of arms outright, let alone

arms that were not “dangerous and unusual” at the time. See Op.23-28.

       To be sure, historical laws regulated these and other arms in other ways, such as

by prohibiting the concealed carry of certain arms. But a concealed carry law deprives

citizens of (at most) one-half of one-half of the Second Amendment “right to armed

self-defense” with respect to the covered arms; the people retain the right to openly

carry those arms, and they of course remain free to keep them as well. A law that

regulates by banning the possession of a class of arms outright, by contrast, deprives

citizens of the entire “right to armed self-defense” with respect to the banned arms;

keeping and bearing (both concealed and open) are now off the table. Concealed carry

laws thus do not begin to justify possession bans. Indeed, Bruen deemed concealed

carry laws insufficiently analogous to support carry bans; a fortiori they are insufficient to

justify possession bans. See Bruen, 142 S.Ct. at 2143. Hawaii’s insistent otherwise defies

not just Bruen, but Heller. After all, if the mere existence of historical laws regulating

concealed carry, or gunpowder storage, or other facets of keeping and bearing arms

sufficed to justify a modern law banning a class of arms, then Heller should have come

out the other way.
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      In sum, while Hawaii is certainly correct that “prohibitions on carrying weapons

are relevant when analyzing bans,” Pet.12, that unremarkable principle simply does not

get it anywhere in this case. That is because the “historical tradition” in this country is

one of “prohibit[ing] the carrying of ‘dangerous and unusual weapons.’” Bruen, 142 S.Ct.

at 2143 (quoting Heller, 554 U.S. at 627; emphasis added). If an arm is not “dangerous

and unusual,” then that tradition does not and cannot justify a prohibition on carrying

it, let alone a prohibition on even possessing it. Simply put, the historical tradition of

bans on dangerous and unusual weapons is relevant if and only if the state meets its

burden of proving that the weapons it has banned are dangerous and unusual. Once

again, Hawaii’s failure to meet that burden does not begin to justify its plea for en banc

review.1

      Hawaii Revised Statute §134-53(a) is an extreme outlier. Indeed, 16 states filed

an amicus brief that parrots Hawaii’s arguments, yet notably mentions zero similar laws.



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  Nor would it justify the extraordinary step of “vacat[ing]” the panel opinion “and
remand[ing] for the District Court to analyze the challenged law under Bruen’s
framework in the first instance.” Pet.17. While it is true the trial court evaluated
Plaintiffs’ claims under the pre-Bruen two-step test, “[s]tep one [was] broadly consistent
with Heller, which demands a test rooted in the Second Amendment’s text, as informed
by history.” Bruen, at 2117-18. Hawaii already had an opportunity to present all the
evidence it claims it needs a remand for. Its failure to do so is not grounds for a remand.
Moreover, Hawaii had multiple opportunities to present all the evidence it could muster
after Bruen, filing a 9,553-word supplemental brief to which it attached a 227-page
Addendum. Hawaii’s failure to muster sufficient support to justify §134-53(a) is no
reason for a remand, let alone for rehearing.
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See Dkt.139. The panel opinion thus does not presage any falling sky. It simply does

what the Supreme Court itself has repeatedly done: hold an extreme outlier restriction

on the right to keep and bear arms inconsistent with this Nation’s historical tradition.

Given that reality, there is no reason either to grant Hawaii’s petition or to “hold the

petition … pending the en banc court’s resolution of Duncan,” as Hawaii now

“requests.” Dkt.138-1. This case has been pending—and Hawaiians’ rights have been

infringed—for long enough.

                                     Conclusion
      For the foregoing reasons, the Court should deny the petition.

                                 Respectfully submitted,

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1.    This brief complies with the type-volume limitations of Fed. R. App. P. 35(b)(2)

because, excluding the parts of the document exempted by Fed. R. App. P. 32(f), it

contains 4,198 words and complies with the word limit of Cir. R. 35-1 and 40-1.

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Dated: October 13, 2023.

                                 /s/ Alan Alexander Beck
                                 Alan Alexander Beck




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                          CERTIFICATE OF SERVICE

      I hereby certify that on October 13, 2023, I filed the foregoing Appellants’

Response to Appellees’ Petition for Rehearing and Rehearing En Banc with the Clerk

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